                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

        UNITED STATES OF AMERICA            )
                                            )
                    vs.                     ) Docket No. 3:12-CR-239
                                            )
        KUROSH MEHR (9)                     )
        ANN TYSON MITCHELL (10)             )
        ___________________________________ )


                                               ORDER


        THIS MATTER is before the Court on Defendant’s Mehr’s Motion to Sever (Doc. No.

451) and the Government’s Response (Doc. No. 456). For the reasons stated in the Motion and

the Government’s Response, the Court will GRANT Defendant Mehr’s Motion and continue the

trial of this Defendant until the June 23, 2014 trial calendar. The Government does not oppose

severing Defendant Mehr, but does recommend grouping Defendants Mehr and Mitchell, as much

of the same evidence is to be presented against these defendants, and there are substantial

efficiencies in grouping these defendants together. The Court has spoken with counsel for

Defendant Mehr and counsel for Defendant Mitchell; both defendants consent to this timing of

the trial.

        In making this determination, the Court has considered the requirements of 18 U.S.C. §

3161(h)(7)(A), as well as the factors in 18 U.S.C. § 3161(h)(7)(B), and finds that the ends of

justice are served by continuing this matter and that such action outweighs the interest of the

public and the defendants to a speedy trial.




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       THEREFORE, IT IS ORDERED that the trial of Defendant Mehr and Defendant

Mitchell be rescheduled for June 23, 2014 at 10:00 a.m. in the Charlotte Division. The Court

previously suspended pre-trial deadlines with respect to Defendant Mitchell. All pre-trial

deadlines in this matter as to Defendant Mehr are also suspended and will be re-set at a later date.

      The Clerk is ordered to certify copies of this Order to the Marshals, Probation, the

Government, the Defendant, and the Bureau of Prisons.

SO ORDERED.




                                  Signed: January 15, 2014




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